                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )        NO. 3:06-00031-18
                                           )        JUDGE CAMPBELL
ROBERTO MANIER                             )


                                          ORDER


      Pending before the Court is a Joint Motion to Continue Revocation Hearing (Docket No.

872). The Motion is GRANTED.

      The revocation hearing/status conference scheduled for July 29, 2013, is

RESCHEDULED for September 19, 2013, at 9:30 a.m.

      IT IS SO ORDERED.



                                                    __________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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